Busi ress’ cv-08888-CJB-JCW Document 79364 Filed 04/20/11 Pagelof3 ..
Sy
IN RE: OIL SPILL by “Deepwater Horizon” 2

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DIRECT FILING SHORT FORM' Lo fe,
Authorized by Order of the Court, Civil Action No. 10 md 2179 Rec. Doc. 982 thes, <O ° Ze,
(Copies of said Order having also been filed in Civil Actions No. 10-8888 and 10-27f4) % %
L

MDL 2179 .

JUDGE CARI. pandi ..

SECTION: J__

By submitting this document, he am m aseerting a 2 claim in » Complaint and Petition of Triton Asset Leasing GmbH, et
al, No. 10-2771; adopt and incorporate the Master Answer [Rec. Doc. 244] to the Complaint and Petition of Triton
Asset Leasing Gmbh, et al., in No. 10-2771; and/or intervene into, join and otherwise adopt the Master Complaint
[Rec. Doc. 879] for private economic losses (“B1 Bundie”) fited in MDL No. 2179 (10 md 2179}; and/or intervene
into, join and otherwise adopt the Master Complaint [Rec. Doc. 881] for poat-explosion I injuries (“B3 Bundle"}
filed in MDL. No. 2179 (40 md 2179}.

Last Name | First Name ck : Middle Name/Maiden : Suffix

Cook —ss_s- Fredlan — BrewSfeg - Tr.

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is Cox Ys : “City/State /Zip 2 @ AL 26

“INDIVIDUAL CLAIM. - : BUSINESS CLAIM

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Jeb Title / Description Type of Business

cane oe ™ Pool s¢ Concacte
Address "Address ,

City / State / Zip - City 1 State om

chat nlp MT Be AG se % i
Last 4 digits of your Social Security Number _ Last 4 digits of your Tax ID Number & { ¢ >
Attomey Name _ Firm Name

Address ccreue ctcnt inane aie ap bts tannin wees

Claim filed with BP? YES PT No - Claim Filed with GCCF?: YES [Uf No

Iryes, BP Claim No.: (9 8 ble VES 23S If yes, Claimant identification No.: } 2S 7bY

Deer eee eee ee eee ee
Claim Type (Please check all that apply):

Damage or destruction to real or personal property Fear of Future Injury and/or Medical Monitoring

Eamings/Profit Loss Loss of Subsistence use of Natural Resources

Personal Injury/Death Removal a jean-up costs {
Otten Teok, AwAY MY Life sty he ¢

Life.’

+ This form should be filed with the U.S. District Court for the Eastern District of Louisiana, 500 Poydras Street, New Orleans, Louisiana 70130, in Civil Action No.
10-8888, While this Direct Filing Short Form is to be filed in CA No. 10-8888, by prior order of the Court, (Rec, Doc. 246, CA. No. 10-2771 and Rec. Doc. 982 in MOL
2179), the filing of this form in CA. No. 10-2888 shall be deemed to be simultaneously filed In CA. 10-2771 and MOL 2179. Plaintiff Liaison Counsel, after being
notified electranically by the Clerk of Court of the filing of this Short Form, shall promptly serve this form through the Lexis Nexis service system on Defense Liaison.

1

Tha filing of this Direct Filing Short Form shail alsa serve in Hew of the requirement of a Plaintiff to file a Plaintiff Profile Form.
Case 2:10-cv-08888-CJB-JCW Document 79364 Filed 04/20/11 Page 2of3

‘| Brief Description:

1. For eamings/profit loss, property damage and loss of subsistence use claims, describe the nature of the injury. For claims

involving real estate/property, include the property location, type of property (residential/commercial), and whether physical
damage occurred. For claims relating te fishing of any type, include the type and iocation of fishing grounds at issue.

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2. For personal injury claims, describe the injury, how and when it was sustained, and identify all health care providers and
employers 2008 te present and complete authorization forms for each.

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3. For post-explosion claims related to clean-up or removal, include your role in the clean-up activities, the name of your

employer, and where you were working.

V.eS..

2

The filing of this Direct Fling Short Form shail also serve in Hew of the requirement of a Plaintiff to file a Plaintiff Profita Form.

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Please check the box(es) below that you think apply to you and your claims:
Non mmental Economic Loss and Pro Damage Claims (Bundle B1

1. Commercial fisherman, shrimper, crabber, or oysterman, or the owner and operator of a business involving fishing, shrimping,
crabbing or oystering.

oO 2. Seafood processor, distributor, retait and seafood market, or restaurant owner and operator, or an employee thereof.

3. Recreational business owner, operator or worker, including a recreational fishing business, commercial guide service, or charter
fishing business who earn their living through the use of the Gulf of Mexico.

rs. Commercial business, business owner, operator or worker, inciuding commercial divers, offshore oilfield service, repair and
supply, real estate agents, and supply companies, or an employee thereof.

I 5. Recreational sport fishermen, recreational diver, beachgoer, or recreational boater.
cr 6. Plant and dock worker, including commercial seafood plant worker, jongshoreman, or ferry operator.

a7 Owner, lessor, or lessee of real prapert y alleged to be damaged, harmedor impacted, physically or economically, including
lessees of oyster bads.

8. Hotel owner and operator, vacation rental owner and agent, or ait those who eam their living from the tourism industry.
OQ 9. Bank, financial insiitution, or retail business that suffered losses as a result of the spill.
Al 10. Person who uit natural resources for subsistence.

fF] 14. Other: cat ESk of Sar, Beat Ane many mete Recpuse of ot | $F (

Post-Explosion Personal Injury, Medical Monitoring, and Property Damage Related to Cleanup (Bundle B3

OJ 4. Boat captain or crew invoived in the Vesseis of Opportunity program.
CI 2. Worker invoived in decontaminating vessels that came into contact with oi and/or chemical dispersants.

O 3. Vessel captain or crew who was not involved in the Vesseis of Opportunity program but who were exposed to harmful chemicals,
odors and emissions during post-explosion clean-up activities.

0 4. Clean-up worker of beach personne involved in clean-up activities along shorelines and intercoastal and intertidal zones.

5, Resident who lives or works in close proximity to coastal waters.

#56. Other: life Shyle 4 Lf

Both BP and the Guif Coast Claim s Facility (GCCF") are hereby authorized to release to the Defend ants in MDL
2179 all information and documents submitted by above-named Plaintiff and information regarding the status of any
payment on the claim, subject to such information being treated as “Confidential Access Restricted" under the Order
Protecting Confidentiality (Pre: igl Order No. 11}, and subject to full copies of same being made available to both
the Plaintiff (or his attorne ble} filing this form and PS through Plaintiff Liaison Counsel.

Claimant or Attorney Signature /

Cruok Crh.

Print Name

GPM

Date

3

The filing of this Direct Filing Short Form shail also serve in Heu of the requirement of a Plaintiff to file a Plaintiff Profile Farm.
